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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND

CRAIG SCOTT                                                    :
                                                               :
           v.                                                  : CIVIL NO. CCB-16-2042
                                                               : Criminal No. CCB-95-0202
UNITED STATES OF AMERICA                                       :
                                                           ...o0o...

                                                   MEMORANDUM

           Federal prison inmate Craig Scott has filed a petition under 28 U.S.C. § 2255 seeking to

vacate his convictions under 18 U.S.C. § 924(c) for use of a firearm in connection with a crime

of violence, specifically armed bank robbery. He relies on the Supreme Court’s decision in

Johnson v. United States, 135 S. Ct. 2551 (2015). The Fourth Circuit granted his request to file a

successive § 2255 as to the Johnson issue only.

           Scott’s petition must be denied. The Fourth Circuit has held that a bank robbery

conviction under 18 U.S.C. § 2113(a) is a crime of violence. United States v. McNeal, 818 F.3d

141, 153 (4th Cir. 2016). Accordingly, the petition will be denied by a separate Order which

follows. No certificate of appealability will be issued.1



May 3, 2017                                                                 /S/
Date                                                                 Catherine C. Blake
                                                                     United States District Judge




1
    Scott is free to seek a certificate of appealability from the Fourth Circuit.
